           Case 2:09-cr-00170-GEB Document 104 Filed 05/07/13 Page 1 of 3


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 4   Telephone: (916) 554-2772
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 7
 8              IN THE UNITED STATES DISTRICT COURT FOR THE
 9                      EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,            )   No. 2:09-CR-0170-GEB
                                          )
12              Plaintiff,                )   STIPULATION AND ORDER AND
                                          )   EXTENDING MOTIONS RESPONSE
13        v.                              )   DEADLINE FOR THE UNITED
                                          )   STATES
14   ROBERT L. CARR, and                  )
     THERESA ANN CARR,                    )
15      aka Teresa Carr,                  )
        aka Teri A. Carr,                 )   Court:   Hon. Garland Burrell
16                                        )
                Defendants.               )
17                                        )
                                          )
18                                        )
19        Whereas, plaintiff United States of America desires a short
20   amount of additional time to file its responses to the motions to
21   withdraw guilty pleas and/or objections to the Presentence Report
22   filed by defendants Robert Carr and/or Theresa Carr, and both
23   respective counsel for the defendants have no objection to the
24   requested extension,
25        It is hereby stipulated and agreed by the parties, through
26   their respective counsel, that the previously set Friday, May 3,
27   2013, deadline for the filing of plaintiff United States of
28   America’s responses to the motions and/or objections to the

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              Case 2:09-cr-00170-GEB Document 104 Filed 05/07/13 Page 2 of 3


 1   Presentence Report filed by defendants Robert Carr and/or Theresa
 2   Carr shall be extended to Monday, May 6, 2013.            The May 10, 2013,
 3   date previously set for the filing of any reply memoranda by the
 4   parties, and the May 17, 2013, hearing date shall remain the
 5   same.
 6
 7   Dated:     May 3, 2013                     Respectfully submitted,
 8
                                                /s/ Douglas Beevers
 9                                              ________________________
                                                DOUGLAS BEEVERS
10                                              Assistant Federal Defender
                                                Attorney for Defendant
11                                              THERESA ANN CARR (per email
                                                authorization)
12
13
                                                /s/ Jan Karowsky
14                                              ___________________________
                                                JAN KAROWSKY
15                                              Attorney for defendant
                                                Robert Carr
16                                              (per email authorization)
17
18                                              BENJAMIN B. WAGNER
                                                United States Attorney
19
                                                 /s/ Samuel Wong
20                                        By:   ___________________________
                                                SAMUEL WONG
21                                              Assistant U.S. Attorney
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              Case 2:09-cr-00170-GEB Document 104 Filed 05/07/13 Page 3 of 3


 1                                        ORDER
 2        The Court, having received, read, and considered the
 3   stipulation of the parties, and good cause appearing therefrom,
 4   adopts the stipulation of the parties in its entirety as its
 5   order.
 6        IT IS SO ORDERED.
 7   Dated:     May 6, 2013
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 9                                     GARLAND E. BURRELL, JR.
10                                     Senior United States District Judge

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